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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                          )   CASE NO.: 1:21CR226
                                                    )
                Plaintiff,                          )   JUDGE PAMELA A. BARKER
                                                    )
        v.                                          )
                                                    )
 DAVIS LU,                                          )   ADDENDUM TO STIPULATED
                                                    )   PROTECTIVE ORDER (ECF DOC. #18)
                Defendant.                          )

       Defense counsel and the Government hereby agree to amend the Stipulated Protective

Order (ECF Doc. #18) by extending its provisions to cover any documents or materials produced

by any individuals, agencies, corporations, or similar entities (collectively, “third parties”) in

response to valid legal requests, including properly issued subpoenas and/or Court

Orders. Accordingly, any documents, materials, recordings, or other items produced by such third

parties shall be considered Protected Discovery Materials – as that term is defined in the Stipulated

Protective Order (ECF Doc. #18, ¶1) – and subject to the same protections and restrictions set forth

in the Stipulated Protective Order, including Paragraphs 2a-2i, which prescribe the retention,

maintenance, dissemination, and review of Protected Discovery Materials. (ECF Doc.

#18). Similarly, the provisions in the Stipulated Protective Order governing the notification

requirements (ECF Doc. #18, ¶4) and agreement to return any Protected Discovery Materials at

the conclusion of the case (ECF Doc. #18, ¶5) apply with equal force to any Protected Discovery

Materials provided by third parties, except that any Protected Discovery Materials disclosed will

be returned directly to the third party who produced them in the first instance.
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        It is so agreed and stipulated by the undersigned parties, this _____ date of _________,
2022.



                                     SO ORDERED, THIS ______ Day of ________, 2022



                                     _____________________________________________
                                     HONORABLE PAMELA A. BARKER
                                     United States District Court Judge
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   AGREEMENT TO THE STIPULATED PROTECTIVE ORDER and ADDENDUM
        in UNITED STATES v. DAVIS LU, Case No. 1:21-CR-226 (Barker)

       I, _____________________, the undersigned, hereby acknowledge and declare that I have

received a copy of the Stipulated Protective Order in United States v. Davis Lu, Case No. 1:21-

CR-226 (Barker), dated October 21, 2021, as well as the Addendum dated November ___, 2022,

and have read, understand, and hereby agree to the terms and provisions of those documents, and

hereby agree and submit to the jurisdiction of the United States District Court for the Northern

District of Ohio for the purposes of enforcement of the terms of the Stipulated Protective Order

and Addendum as well as the punishment for any violations thereof.


DATED: _______________, 2022.

       Name:          _____________________________

       Signature:     _____________________________

       Address:       _____________________________

                      _____________________________

       Telephone:     _____________________________

       Email:         _____________________________
